Case 1:19-cv-00010-JTN-ESC ECF No. 122 filed 08/09/19 PageID.7378 Page 1 of 5



                               UNITED STATES DISTRICT COURT
                           IN THE WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 WOLVERINE WORLD WIDE, INC.,
                                                                 ORAL ARGUMENT REQUESTED
          Plaintiff,

 v.
                                                                  Case No. 1:19-cv-00010
 THE AMERICAN INSURANCE COMPANY, et. al,
                                                                  Honorable Janet T. Neff
             Defendants.                                          Mag. Judge Ellen S. Carmody

_________________________________________________________________________________________________________

                   LIBERTY MUTUAL INSURANCE COMPANY’S
        MOTION TO COMPEL DISCOVERY RESPONSES TO ITS FIRST SET OF REQUESTS
      FOR ADMISSIONS, INTERROGATORIES AND ACCOMPANYING REQUESTS FOR
          PRODUCTION OF DOCUMENTS TO WOLVERINE WORLD WIDE, INC.

                                      ORAL ARGUMENT REQUESTED
_________________________________________________________________________________________________________

        Defendant, Liberty Mutual Insurance Company (“Liberty Mutual”), moves this Court

pursuant to Fed. R. Civ. P. 37(a)(3)(b) for an order compelling Plaintiff, Wolverine

Worldwide Inc. (“Wolverine”), to produce responses and documents requested in Liberty

Mutual’s First Set of Requests for Admission, Interrogatories and Accompanying Requests

for Production of Documents, and in support of the motion, states as follows:

        1.       On July 25, 2019, Liberty Mutual served Wolverine with its First Set of

Requests for Admission, Interrogatories and Requests for Production of Documents

(“Discovery Requests”). Each of the Discovery Requests was narrowly tailored to address

issues involving the exhaustion of the Liberty Mutual Policies as outlined in the Special

Master’s Initial Case Management/Scheduling Order (“Scheduling Order”), including the

2002 Settlement Agreement between Wolverine and Liberty Mutual that arose out of the
Case 1:19-cv-00010-JTN-ESC ECF No. 122 filed 08/09/19 PageID.7379 Page 2 of 5



2001 Coverage Action filed by Wolverine with respect to coverage for alleged environmental

contamination at two sites where Wolverine disposed of its wastes.1 In particular, Liberty

Mutual sought, inter alia, the following Requests for Admission related to whether or not

Wolverine admitted or denied such issues as: (1) the 2002 Settlement Agreement settled all

claims for defense and indemnity between Liberty Mutual and Wolverine raised in the 2001

Coverage Action; (2) all property damage aggregate limits under all of the Liberty Mutual

Policies are exhausted by virtue of the 2002 Settlement Agreement; and (3) Wolverine has

not taken any action to otherwise contest or modify the 2002 Settlement Agreement, among

others. Liberty Mutual also served several interrogatories and document requests in

conjunction with the Requests for Admission that sought documents and information from

Wolverine to the extent that Wolverine contends the 2002 Settlement Agreement somehow

did not exhaust the Liberty Mutual Policies.

       2.      On July 25, 2019, within less than two hours of Liberty Mutual’s service of the

Discovery Requests, Wolverine’s counsel advised Liberty Mutual that it wanted to schedule

a meet and confer regarding the Discovery Requests.

       3.      On August 2, 2019, Liberty Mutual and Wolverine met and conferred on the

issue of Liberty Mutual’s Discovery Requests. The meet and confer was scheduled at the

request of Wolverine, even though the deadline for Wolverine to respond to the Discovery

Requests had not yet passed. During the meet and confer, when Liberty Mutual asked


1 As stated in the accompanying brief, fn1, the Discovery Requests also addressed issues of lost
policies. The Special Master recently clarified by e-mail on August 8, 2019, that such discovery is
within the Phase I scope of discovery. With that issue having been resolved, Liberty Mutual reserves
the right to address its Discovery Requests as to the lost policy issues if Wolverine nevertheless
refuses to comply with discovery on issues relative to eight newly-alleged policies that were allegedly
issued by Liberty Mutual for the periods of 4/6/57 to 4/6/65 (“Newly-Alleged Liberty Mutual
Policies”).
                                                  2
Case 1:19-cv-00010-JTN-ESC ECF No. 122 filed 08/09/19 PageID.7380 Page 3 of 5



Wolverine to articulate in writing why Wolverine believed the submitted discovery was

beyond the scope of Phase I discovery, Wolverine responded that it neither wanted to spend

the time nor the money responding in writing to Liberty Mutual as to why it believed the

Discovery Requests were objectionable, and that it did not intend to provide formal

responses to the Discovery Requests. As a result of the meet and confer, Wolverine and

Liberty Mutual were unable to resolve their differences on the relevancy and scope of the

Discovery Requests, thereby necessitating the filing of this motion.

       4.     As explained further in the Liberty Mutual’s brief in support of its motion to

compel, Wolverine is entirely incorrect that Liberty Mutual’s Discovery Requests are beyond

the scope of Phase I discovery. Pursuant to the express language of the Scheduling Order,

the scope of discovery included “discovery relative to the duty to defend and exhaustion of

policies.” (ECF Dkt. No. 99, PageID.7068) (emphasis added).            Furthermore, in direct

contravention to Wolverine’s contention during the meet and confer that discovery beyond

production of the 2002 Settlement Agreement was not contemplated, the Scheduling Order

did not place limits on the types of discovery that could be sought by the parties related to

the issues to be resolved in Phase I of the litigation and, in fact, expressly allows for

interrogatories, requests for admissions, document production, depositions and the

utilization of expert witnesses, with discovery required be completed by January 10, 2020.

(Id., PageID.7068-7069)

       5.     The Discovery Requests, as highlighted in the attached brief, are relevant and

clearly fall within the scope of the duty to defend and exhaustion issues set forth in the

Scheduling Order. First, discovery on the impact of the 2002 Settlement Agreement upon

Wolverine’s current coverage claims is entirely relevant here because the property damage


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Case 1:19-cv-00010-JTN-ESC ECF No. 122 filed 08/09/19 PageID.7381 Page 4 of 5



and personal injury aggregate limits of the Liberty Mutual Policies were exhausted pursuant

to the 2002 Settlement Agreement.

       6.       Secondly, whether Wolverine admits that the property damage and personal

injury policy limits of the Liberty Mutual Policies are exhausted by virtue of the 2002

Settlement Agreement also impacts the duty to defend issue in the present coverage action

because Liberty Mutual, pursuant to the policies, “shall not be obligated to …. defend any suit

after the applicable limit of the company’s liability has been exhausted by payment of …

settlements.”

       7.       Accordingly, Liberty Mutual requests that this Court enter an order compelling

Wolverine to produce responses, documents and information sought through Liberty

Mutual’s Discovery Requests.

Dated: August 9, 2019                Respectfully submitted,

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Case 1:19-cv-00010-JTN-ESC ECF No. 122 filed 08/09/19 PageID.7382 Page 5 of 5



                              UNITED STATES DISTRICT COURT
                          IN THE WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 WOLVERINE WORLD WIDE, INC.,

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 v.
                                                                  Case No. 1:19-cv-00010
 THE AMERICAN INSURANCE COMPANY, et. al,
                                                                  Honorable Janet T. Neff
          Defendants.                                             Mag. Judge Ellen S. Carmody

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                                    CERTIFICATE OF SERVICE


        I do hereby certify that on the 9th day of August, 2019, I served the foregoing

document and this Certificate of Service to all Counsel of Record with the Clerk of the Court

using the electronic court filing system, which will send notification of such filing to all

Counsel of Record.

                                                        /s/ Daniel J. James_______________
                                                        Daniel J. James
                                                        Wheeler Upham, P.C.




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